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January 23, 2023


AUSA Jonathan Lax
AUSA John Enright
United States Attorney’s Office
Eastern District of New York
271 Cadman Plaza East
Brooklyn, NY 11201

Re: United States v. Nerayoff, Cr. 20-0008 (MKB)


Dear Jon and John,
Consistent with Rule 16 and in conjunction with Marc Agnifilo’s July 18, 2022 document request we now
request the following:

1) The substance of any oral statements made by Mr. Nerayoff to any employee of the Federal
Government or its agent (including but not limited to FBI, DOJ, SEC, FINRA).
2) Any written or recorded statements made by Mr. Nerayoff in the government’s possession (including
but not limited to 302 reports, notes of interviews in connection with those reports).
3) To inspect and to copy, photograph, etc. any of Mr. Nerayoff’s papers, documents, data, photographs,
tangible objects, in the government's possession, custody, or control obtained from Mr. Nerayoff or
previously under his control—including but not limited to the digital information the Government received
from Apple Inc. that resided on Mr. Nerayoff’s Apple i-cloud backup. We would also request an inventory
of these items.


Sincerely,

Michael A. Scotto




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